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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter   11


EDGEMARC ENERGY HOLDINGS, LLC,                                 Case   No. 19-11104 (JTD)
et al.,r
                                                               (Jointly Administered)
                           Debtors.



     AMENDED2 NOTICE OF AGENDA FOR THE HEARING ON AUGUST 28, 2019, AT
    11:00 4.M.3 (PREVAILING EASTERN TIME), BEFORE THE HONORABLE JOHN T.
     DORSEY AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
       oF DELAWARE, LOCATED AT 824 NORTH MARKET STREET, sTH FLOOR,
                 couRTRooM NO. 6, \ryILMINGTON, DELAWARE 19801

CONTINUED MATTER:

1         Debtors' Application for an Order Authorizing Employment and Retention of Prime
          Clerk LLC as Administrative Advisor Nunc Pro Tunc to the Petition Date [D.I. 103, filed
          on May 23,20191

          Response Deadline: June 6,2019 at 4:00 p.m. (ET); extended to September 11, 2019 at
          4:00 p.m. (ET) for the Office of the United States Trustee

          Responses Received:

          A.        Informal comments from the Office of the United States Trustee

          Related Documents:

          B.        Declaration of Callum Streeter in Support of the Debtors' Chapter 11 Petitions
                    and First Day Pleadings [D.I. 3, filed on May 15, 2019]



I The Debtors in these cases, along with the last four digits of
                                                           each Debtor's federal tax identification number, are:
    EdgeMarc Energy Holdings, LLC (6900), EM Energy Manager, LLC (5334), EM Energy Employer, LLC (8026),
    EM Energy Ohio, LLC (6935), EM Energy Pennsylvania, LLC (1541), EM Energy West Virginia, LLC (3771),
    EM Energy Keystone, LLC (7506), EM Energy Midstream Ohio, LLC (1268), and EM Energy Midstream
    Pennsylvania,LLC (3963). The Debtors' corporate headquarters and mailing address is 1800 Main Street, Suite
    220, Canonsbwg, PA 15317.
2   Amended items appear in bold.

3 Any party who wishes to attend telephonically is required to make arrangements prior to the hearing through
  CourtCall by telephone (866-582-6878) or by facsimile (866-533-2946)




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          C.        Omnibus Notice of Hearing [D.I. 108, filed on l|l4ay 23,2019]

          Status: 'fhis matter has been adjourned to the September 18, 2019 omnibus hearing by
                  agreement of the parties.

UNCONTESTED MATTERS WITH CERTIFICATE OF NO OBJECTION/RESOLVED
MATTERS:

2         Motion to Extend the Time Period within which the Debtors May File Notices to Remove
          Actions Pursuantto 28 U.S.C. $ 1452 and Rules 9027 and 9006 of the Federal Rules of
          Bankruptcy Procedure [D.I. 450, filed on August 7,20191

          Response Deadline: August     2I,2019 at 4:00 p.m. (ET)

          Responses Received: None.

          Related Documents:

          A.        Certificate of No Objection [D.I. 505, filed on August 22,2019]

          B.        Order Granting the Debtors' Motion to Extend the Time Period within which the
                    Debtors May File Notices to Remove Actions Pursuant to 28 U.S.C. $ 1452 and
                    Rules 9027 and 9006 of the Federal Rules of Bankruptcy Procedure [D.I. 507,
                    entered on August 23,20191

          Status: On August 23, 2019, the Court entered an Order granting the relief requested.
          Accordingly a hearing regarding this matter is not required.

-t        Motion for Protective Order Barring Requested Deposition ID.I. 452, filed on August 7,
          20r91

          Response Deadline: August 21,2019 at 4:00 p.m. (ET)

          Responses Received:

          A.        Letter   to the Honorable   John    T.   Dorsey from the Official Committee of
                    Unsecured Creditors Dated August 8,2019 lD.l. 451, filed on August 8, 20191

          Related Documents:

          B.        Discovery Order fD.L 422, entered on July 31,20191

          Status: 'Ihis matter    is resolved. Accordingly, a hearing regarding this matter is not
          required.

MATTERS GOING FOR\ilARD:

4         Motion of Debtors for Entry of Orders (IXA) Approving Bidding Procedures for Sale of
          Debtors' Assets, (B) Approving Stalking Horse Protections, (C) Scheduling Auction for,


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             and Hearing to Approve, Sale of Debtors' Assets, (D) Approving Form and Manner of
             Notices of Sale, Auction and Sale Hearing, (E) Approving Assumption and Assignment
             Procedures and (F) Granting Related Relief and (II)(A) Approving Sale of Debtors'
             Assets Free and Clear of Liens, Claims, Interests and Encumbrances, (B) Authorizing
             Assumption and Assignment of Executory Contracts and Unexpired Leases and (C)
             Granting Related Relief [D.I. 19, filed on May 15, 20191.

             Sale Response Deadline: August 21,2019 at 4:00 p.m. (ET); extended to August 22,
             2019 at 12:00 p.m. (ET) for the Official Committee of Unsecured Creditors, Bedrock
             Petroleum Consultants LLC, Phoenix Technology Services USA Inc., Keystone
             Clearwater Solutions, LLC, Anchor Drilling Fluids USA, LLC 8. B&L Pipeco Services,
             Inc.

             Cure Response Deadline: August 21,2019 at 4:00 p.m. (ET); extended to August 23,
             2019 at 4:00 p.m. (ET) for EGO Water Solutions LLC

             Assumntion and Assipnment Resnonses R                ved Relatins to the Monroe/Washinston
             Assets:

             A.            Informal response from EGO Water Solutions LLC

             B             Objection of Timothy L. Blake and Paula J. Rush-Blake to Cure Claim Amount
                           [D.I. 487, filed on August 19,20191

             C             Limited Assumption and Assignment Objection and Reservation to Debtors'
                           Notice of Potential Assumption and Assignment of Executory Contracts or
                           Unexpired Leases and Cure Amount of Eureka Midstream, LLC and EQM
                           Gathering OPCO, LLC [D.I. 490, filed on August 20,20T91

            D              Objection of Tyrone J. Allen and Diane L. Allen to Notice of Potential
                           Assumption and Assignment of Executory Contracts or Unexpired Leases and
                           Cure Amount |D.I.492, filed on August 2T,20t91

            E              Objection of Waste Management to Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired Leases [D.I.
                           494,fiJed on August 21,20191

            Sale Responses Received Relating to the Monroe/Washington Assets

            Þ-.            Informal comments from the Off,rce of the United States Trustee

            G              Informal comments from the Official Committee of Unsecured Creditors

            H          Limited Objection and Reservation to Bankruptcy Sale [D.I. 49l,filed on August
                       20,20191




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          I                Limited Objection of U.S. Specialty Insurance Company to the Sale [D.I. 493,
                           filed on August 2I,20191

          J                Limited Objection of Oil and Gas Mechanic's Lien Claimant, Anchor Drilling
                           Fluids USA, LLC to Motion of Debtors for Entry of Orders (IXA) Approving
                           Bidding Procedures for Sale of Debtors Assets, (B) Approving Stalking Horse
                           Protections, (C) Scheduling Auction for, and Hearing To Approve, Sale of
                           Debtors Assets, (D) Approving Form and Mar¡rer of Notices of Sale, Auction
                           and Sale Hearing, (E) Approving Assumption and Assignment Procedures and
                           (F) Granting Related Relief and (II)(A) Approving Sale of Debtors Assets Free
                           and Clear of Liens, Claims, Interests and Encumbrances, (B) Authorizing
                           Assumption and Assignment of Executory Contracts and Unexpired Leases and
                           (C) Granting Related Relief [D.I. 498, filed on August 22,2019]

          K.               Limited Objection and Reservation of Rights of B&L Pipeco Services, Inc. to
                           Debtors' Sale of Assets Free and Clear of Liens, Claims, Interests and
                           Encumbrances [D.L 499,f/'ed on August 22,2019]

          L            Bedrock Petroleum Consultants, LLC's Objection          to Sale [D.I. 500, filed   on
                       August 22,20191

          M.               Limited Objection and Reservation of Rights of Keystone Clearwater Solutions,
                           LLC to Debtors' Sale of Assets F-ree and Clear of Liens, Claims, Interests and
                           Encumbrances [D.I. 501, filed on August 22,20191

         N.                Phoenix Technology Services USA, Inc.'s Limited Objection and Preservation of
                           Rights to Debtors' Sale of Assets Free and Clear of Liens, Claims, Interests and
                           Encumbrances [D.L 502, f,rled on August 22,2019]

          o            Response and Reservation of Rights of Official Committee of Unsecured
                       Creditors with Respect to Motion of Debtors for Entry of Order (A) Approving
                       Sale of Debtors' Monroe/Washington Assets F-ree and Clear of Liens, Claims,
                       Interests and Encumbrances, (B) Authorizing Assumption and Assignment of
                       Executory Contracts and Unexpired Leases and (C) Granting Related Relief [D.I.
                       504, filed on August 22,20191

          P            Debtors' (I) Brief in Support of their Motion for Entry of an Order (A)
                       Approving Sale of Debtors' Assets F'ree and Clear of Liens, Claims, Interests and
                       Encumbrances, (B) Authorizing Assumption and Assignment of Executory
                       Contracts and Unexpired Leases and (C) Granting Related Relief and (II)
                       Omnibus Reply to Objections to Sale of Monroe/Washington Assets [D.L 5ll,
                           f,rled on August 26,20191

          Status: The cure objection of EGO Water Solutions, LLC (item 4.4) has been resolved.
          The cure objections at items 4.8 through 4.8 have been continued to September 18, 2019
          at 10:00 a.m. (ET) by agreement of the parties. The sale responses of the Office of the



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          United States Trustee (item 4.F) and the Official Committee of Unsecured Creditors
          (item 4.G) have been resolved. The Debtors are working to resolve all other unresolved
          sale objections. This matter is going forward solely with respect to the
          Monroe/Washington assets.

          Sale and Cure Responses Received Relatins to the Butler Assets

          a.            Informal response from Axip Energy Services

          R.            Limited Objection and Reservation of Rights of Dominion Energy Transmission,
                        lnc. flWa Dominion Transmission, Inc. to Notice of Potential Assumption and
                        Assignment of Executory Contracts or Unexpired Leases and Cure Amount [D.L
                        488, filed on August 19,20191

          S.            Objection from Brenda Shaffer and Phillip Shaffer [D.I. 489, filed on August 20,
                        20191

          T.            Limited Objection of U.S. Specialty Insurance Company to the Sale [D.I. 493,
                        filed on August 21,20191

          U.            Objection to Sale   of Ronald Smith and Marianne Smith [D.I. 495, filed on
                        August 21,20191

          V.            Markwest Liberty Bluestone, LLC's Limited Objection and Reservation of
                        Rights of to Notice of Potential Assumption and Assignment of Executory
                        Contracts, Unexpired Leases and Cure Amount lD.l. 496, filed on August 21,
                        20rel

          w             Limited Objection of Oil and Gas Mechanic's Lien Claimant, Anchor Drilling
                        Fluids USA, LLC to Motion of Debtors for Entry of Orders (IXA) Approving
                        Bidding Procedures for Sale of Debtors Assets, (B) Approving Stalking Horse
                        Protections, (C) Scheduling Auction for, and Hearing To Approve, Sale of
                        Debtors Assets, (D) Approving Form and Manner of Notices of Sale, Auction
                        and Sale Hearing, (E) Approving Assumption and Assignment Procedures and
                        (F) Granting Related Relief and (II)(A) Approving Sale of Debtors Assets Þ'ree
                        and Clear of Liens, Claims, Interests and Encumbrances, (B) Authoizing
                        Assumption and Assignment of Executory Contracts and Unexpired Leases and
                        (C) Granting Related Relief [D.I. 498, filed on August 22,20191

          X.            Limited Objection and Reservation of Rights of Keystone Clearwater Solutions,
                        LLC to Debtors' Sale of Assets Free and Clear of Liens, Claims, Interest and
                        Encumbrances [D.I. 501, filed on August 22,2019]

          Status: The sale and cure objections with regard to the Butler Assets and all responses
          related thereto are continued to September 24,2019 at 11:00 a.m. (ET).




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          Related Documents:

          Y             Declaration of Callum Streeter in Further Support of the Debtors' Chapter    11
                        Petitions and First Day Pleadings [D.I. 3, filed on May 15,2019]

          Z.            Order (I) Approving Bidding Procedures for Sale of Debtors'Assets, (II) Setting
                        Procedures to Seek Stalking Horse Bid Protections, (III) Scheduling Auction for,
                        and Hearing to Approve, Sale of Debtors' Assets, (IV) Approving Form and
                        Manner of Notices of Sale, Auction and Sale Hearing, (V) Approving
                        Assumption and Assignment Procedures and (VI) Granting Related Relief [D.I.
                        247, entercd on June 21,20191

          AA.           Notice of Sale, Bidding Procedures, Auction and Sale Hearing 1D.1.249, filed on
                        June 21, 20191

          BB.           Order Approving Amended Bidding Procedures for Sale of Debtors' Assets [D.I
                        329, entercd on July 12,20191

          CC.           Notice of Filing of Forms of Sale Order and Asset Purchase Agreement [D.L
                        399, filed on July 24,20191

          DD.           Notice of Designation of Stalking Horse Bidder for Monroe/Washington Assets
                        and Request for Approval of Stalking Horse Bid Protections [D.I. 401, filed on
                        July 24,20191

          EE.           Notice of Potential Assumption and Assignment of Executory Contracts or
                        Unexpired Leases and Cure Amounts !D.L 402, filed on July 24,20191

          FF.           Notice of Filing Amended Exhibits to the Stalking Horse Agreement [D.I. 437,
                        filed on August 5,20191

          GG.           Order (I) Designating Stalking Horse Bidder , (II) Approving Bid Protections,
                        and (UI) Granting Related Relief !D.I.444, entered on August 6,20191

          HH.           Supplemental Notice of Potential Assumption and Assignment of Executory
                        Contracts or Unexpired Leases and Cure Amount lD.I. 462, filed on August 9,
                        20t91

          il            Notice of (I) Designation of Successful Bid and Cancellation of Auction for the
                        Debtors' Monroe/Washington Assets and (II) Extension of Sale Timeline for the
                        Sale of the Debtors' Butler Assets |D.L 497, filed on August 21,20191

          JJ            [REDACTED] Declaration of Darren S. Klein in Support of Debtors' (I)
                        Brief in Support of Their Motion for Entry of an Order (A) Approving Sale
                        of Debtors' Monroe/\ilashington Assets Free and Clear of Liens, Claims,
                        Interests and Encumbrances, (B) Authorizing Assumption and Assignment



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                         of Executory Contracts and Unexpired Leases and (C) Granting Related
                         Relief and (II) Omnibus Reply to Objections Thereto [D.I. 514, filed on
                         August 26,20191

5        Debtors' Motion to Extend the Deadline to Assume or Reject Unexpired Leases of
         Nonresidential Real Property Pursuant to Bankruptcy Code Section 365(dX4) and Rule
         6006 of the Federal Rules of Bankruptcy Procedure [D.I. 451, filed on August 7,20191
         Response Deadline: August 21,2019 at 4:00 p.m. (ET)

         Responses Received:

         A.          Objection from Brenda Shaffer and Phillip Shaffer [D.L 489, filed on August 20,
                     20tel
         Related Documents: None

         Status: This matter is going forward.

POTENTIAL STATUS CONFERENCE IN ADV. PRO. NO. 19-50269 (JTD):

6.       Letter to the Honorable John T. Dorsey from Kerri K. Mumford, Esq., counsel to the
         Debtors, Requesting a Status Conference at the Omnibus Hearing Scheduled for August
         28,2019 at I l:00 a.m. (ET) [D.L 510, filed on August 26,2019]

         Response         Deadline:NiA

         Responses Received: None as of the date hereof.

         Related Documents: N/A

         Status: The Debtors have requested a status conference.

ADDITIONAL MATTER:

7        Debtors' Motion to FiIe Under Seal Certain Information Contained in Exhibit A to
         the Declaration of Darren S. Klein in Support of Debtors' (I) Brief in Support of
         their Motion for Entry of an Order (A) Approving Sale of Debtors'
         MonroeAilashington Assets Free and Clear of Liens, Claims, Interests and
         Encumbrances, (B) Authorizing Assumption and Assignment of Executory
         Contracts and Unexpired Leases and (C) Granting Related Relief and (II) Omnibus
         Reply to Objections Thereto [D.I. 517, filed on August 26,2019]

         Response l)eadline: At or       prior to the hearing.
         Responses Received: None as of the date hereof.




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          Related Documents:

          A.        IREDACTEDI Declaration of Darren S. Klein in Support of Debtors' (I)
                    Brief in Support of Their Motion for Entry of an Order (A) Approving Sale
                    of Debtorst Monroe/Washington Assets Free and Clear of Liens, Claimst
                    Interests and Encumbrances, (B) Authorizing Assumption and Assignment
                    of Executory Contracts and Unexpired Leases and (C) Granting Related
                    Relief and (II) Omnibus Reply to Objections Thereto [D.I. 514, filed on
                    August 26,20191

          B.        ISEALEDI Declaration of Darren S. Klein in Support of Debtors' (I) Brief in
                    Support of Their Motion for Entry of an Order (A) Approving Sale of
                    I)ebtors' Monroe/Washington Assets Free and Clear of Liens, Claims,
                    Interests and Encumbrances, (B) Authorizing Assumption and Assignment
                    of Executory Contracts and Unexpired Leases and (C) Granting Related
                    Relief and (II) Omnibus Reply to Objections Thereto [D.I. 51.5, filed on
                    August 26120191

          Status: The matter is going forward.

Dated: August 26,2019                                     RATH & COBB LLP
       Wilmington, Delaware

                                                      G           o.3407)
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                                               -and-




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                                            DAVIS POLK & WARDWELL LLP
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                                            and Debtors-In-P ossession




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